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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 20-113(1) DSD/BRT

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
Jose A. Felan, Jr.,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that Robert Sicoli, Attorney ID 178238, is appointed

as counsel pursuant to 18 U.S.C. § 3006A.


Dated: April 8, 2021                           s/Becky R. Thorson
                                               Honorable Becky R. Thorson
                                               United States Magistrate Judge
